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                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION




VERRAGIO,LTD.                                             CASE NO. 1:17-CV-00750

                Plaintiff,

        vs.

CASTING HOUSE,

                Defendant.

                                    NOTICE OF SETTLEMENT


       TO THE COURT:

       PLEASE TAKE NOTICE, that Plaintiff Verragio, Ltd. and Defendant Casting House have

reached a resolution of this matter in its entirety. The parties are currently working to finalize the

settlement agreement relating to this resolution, and expect to file a dismissal within thirty (30) days.

Therefore, the parties respectfully request that the current hearings, dates and deadlines be vacated so

that the parties can finalize performance ofthe terms ofthe agreement and file the dismissal.


                                                         Respectfully submitted,

 TUCKER ELLIS LLP

 By:/s/Nathan T. Newman                                     By: /s/Howard A. Kroll
     Nathan T. Newman — ARDC #6322359                       Howard A. Kroll
     Tucker Ellis LLP                                       Admitted to Illinois Bar 2/18/17
     233 South Wacker Drive, Suite 6950                     Tucker Ellis LLP
     Chicago,IL 60606                                       515 South Flower Street, 42nd Floor
     Telephone: 312.624.6300                                Los Angeles, California 90071
     Facsimile: 312.624.6309                                Telephone:       213-430-3400
                                                            Facsimile:       213-430-3409

 Attorneysfor Plaintiff
 Verragio, Ltd.




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                                 CERTIFICATE OF SERVICE



        I, Susan Lovelace, certify that on April 17, 2017, I electronically filed the Notice of

Settlement with the Clerk of the Court using the CM/ECF system which will send notification to

counsel ofrecord listed below:



Attorney for Defendant:


Christopher J. Pickett
Avery Kerr Gordon
Lindsay, Rappaport & Postel, LLC
10 S. LaSalle St., Suite 1301
Chicago, Illinois 60603
Tel: 312-624-6300
Fax: 312-624-6309

Email: cpickettglrplawfirm.com
Email: agordongliplawfirm.conm




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